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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                NORTHERN DIVISION

RICKY LEE RUSHING,
ADC #65405                                                                          PLAINTIFF

v.                                  1:14CV00028-KGB-JTK

WARDEN GUY, et al.                                                              DEFENDANTS

                                            ORDER

       By Order dated August 13, 2014, this Court directed the issuance of summons and service

of Plaintiff’s Third Amended Complaint on Defendants (Doc. No. 20). Summons was returned,

unexecuted, with respect to Defendant Ryon Hennessey on August 25, 2014 (Doc. No. 22).

Included with the return and filed under seal is a memo containing Defendant Hennessey’s last-

known address. Accordingly,

       IT IS, THEREFORE, ORDERED that the Clerk of the Court shall prepare summons for the

Defendant Ryon Hennessey, and the United States Marshal is hereby directed to serve a copy of the

summons and Third Amended Complaint (Doc. No. 21) on Defendant at the address provided under

seal, without prepayment of fees and costs or security therefore.

       IT IS SO ORDERED this 26th day of August, 2014.



                                             ______________________________________
                                               JEROME T. KEARNEY
                                                UNITED STATES MAGISTRATE JUDGE




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